Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 1 of 18 PagelID 1

FILED
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION 2021 NOV 10 PH 5: 18
UNITED STATES OF AMERICA He ee ee”
LANSO, FLORIDA
V. CASE NO. 6:21-cr- /98- ORL- ACC- EIK
18 U.S.C. § 1349
KEITH INGERSOLL 18 U.S.C. § 1343
JAMES P. ADAMCZYK 18 U.S.C. § 1957
18 U.S.C. § 1028A
INDICTMENT
The Grand Jury charges:
COUNT ONE

(Conspiracy to Commit Wire Fraud)
A. Introduction

At times relevant to this Indictment:

Li KI Consulting Group LLC (KI Consulting Group) and the Ingersoll
Group, LLC (Ingersoll Group) were limited liability companies that were registered
by KEITH INGERSOLL with the Florida Department of State in 2017 and 2018,
respectively. KEITH INGERSOLL controlled both of those companies and their
bank accounts.

2. Daystar Investments, Inc. (Daystar Investments), [Drive Media Group
Inc. (IDrive Media), and Shooters of Orlando Inc., also referred to as Shooters
Orlando Inc., (Shooters Orlando) were corporations that were registered by JAMES

P. ADAMCZYK with the Florida Department of State in 2018, 2020, and 2016,
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 2 of 18 PagelD 2

respectively. JAMES P. ADAMCZYK controlled each of those corporations and

their bank accounts.

3. The Victim is a resident of the Middle District of Florida. The Victim
controlled several companies, including Company A, Company B, Company C, and
Company D, and their bank accounts.

4, Bank of America, BMO Harris Bank, Fifth Third Bank, Regions Bank,
Seacoast National Bank (Seacoast Bank), and Wells Fargo Bank were financial
institutions as defined by 18 U.S.C. § 20, the accounts and deposits of which were
federally insured by the Federal Deposit Insurance Corporation.

B. Conspiracy

5. Beginning at a time unknown to the Grand Jury, but beginning at least
by in or about April 2016, and continuing thereafter through and including on or about
the date of this Indictment, in the Middle District of Florida, and elsewhere, the
defendants,

KEITH INGERSOLL
JAMES P. ADAMCZYK,

did knowingly and willfully combine, conspire, confederate, and agree with each
other, and others known and unknown to the Grand Jury to commit wire fraud, by
knowingly and with intent to defraud devising and intending to devise a scheme and
artifice to defraud, and for obtaining money and property, by means of materially false
and fraudulent pretenses, representations and promises, and, for the purpose of
executing the aforesaid scheme and artifice to defraud, knowingly transmitting and

2
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 3 of 18 PagelD 3

causing to be transmitted by means of wire, radio, and television communication in
interstate and foreign commerce, any writings, signs, signals, pictures, and sounds, in
violation of 18 U.S.C. § 1343.
C. Manner and Means
6. The manner and means of the conspiracy included the following:

a. It was part of the conspiracy that KEITH INGERSOLL, JAMES
P. ADAMCZYK, and other co-conspirators would and did unlawfully devise and
execute a scheme and artifice to defraud the Victim of money and property by means
of materially false and fraudulent pretenses, representations and promises.

b. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did falsely and
fraudulently represent to the Victim that KEITH INGERSOLL or entities controlled
by or affiliated with him had entered into contracts to purchase real estate within and
outside of Florida, including in Daytona Beach in Volusia County, Ocala in Marion
County, Fort Lauderdale in Broward County, Alabama, Illinois, Nebraska, and the
Bahamas.

Cc. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did falsely and
fraudulently represent to the Victim that funds were needed from the Victim to be used
as refundable deposits for real estate that had been contracted for purchase.

d. It was a further part of the conspiracy that KEITH INGERSOLL,

JAMES P. ADAMCZYK, and other co-conspirators would and did falsely and
3
Case 6:21-cr-00138-ACC-EJK Document 1 Filed 11/10/21 Page 4 of 18 PagelD 4

fraudulently represent that the funds provided by the Victim to be used as refundable
deposits would be held in escrow by an attorney.

e. It was a further part of the conspiracy that another co-conspirator
known to the Grand Jury (referred to herein as the “Suspended Attorney”) would and
did falsely and fraudulently represent that he was an attorney who would hold the
refundable deposits in escrow, when in truth and in fact, the Suspended Attorney was
not a licensed attorney, he had been suspended from the practice of law in 2008 and
had never been reinstated, and he did not retain the Victim’s funds in escrow but used
a portion for his own personal benefit and transferred other funds to KEITH
INGERSOLL and JAMES P. ADAMCZYK.

f. It was a further part of the conspiracy that, after the Suspended
Attorney died, JAMES P. ADAMCZYK would and did falsely and fraudulently
represent that he was an attorney who would hold the refundable deposits in escrow
or as an escrow agent, when in truth and in fact, JAMES P. ADAMCZYK was nota
licensed attorney and he did not hold the Victim’s funds in escrow or as an escrow
agent but diverted portions for his own personal benefit and transferred other funds to
KEITH INGERSOLL.

g. It was a further part of the conspiracy that KEITH INGERSOLL
would and did falsely and fraudulently represent that he would locate a buyer for each
property under contract and then either assign the purchase contract to the buyer for a

specified price or simultaneously purchase and sell (flip) the property.
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 5 of 18 PagelD 5

h. It was a further part of the conspiracy that KEITH INGERSOLL
would and did falsely and fraudulently represent that the Victim would receive 9%
interest for the refundable deposits that were held in escrow or that were held by an
escrow agent, as well as a share of the profits from the sale of any of the real estate that
was sold.

i. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did falsely and
fraudulently represent that amounts held as refundable deposits would be refunded to
the Victim at the Victim’s request.

j It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did falsely and
fraudulently claim that KEITH INGERSOLL or entities controlled by or affiliated
with him had entered into purchase contracts with the owners of real estate, when in
truth and in fact, as the defendants then and there well knew, the owners had not
agreed to sell the real estate and, in some instances, had never been contacted about
selling the real estate.

k. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did fabricate the
names of the entities who the defendants and their conspirators falsely claimed were |
the owners of the properties that had been contracted for sale.

1. It was a further part of the conspiracy that KEITH INGERSOLL,

JAMES P. ADAMCZYK, and other co-conspirators would and did provide the
5
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 6 of 18 PagelD 6

Victim with real estate purchase contracts and other documents that were not executed
by the owners of the properties but that contained forged signatures or were executed
using the names of fictitious individuals and that falsely represented the entities that
owned the properties.

m. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did falsely and
fraudulently represent that the owners of the real estate claimed to be under contract
had agreed to extensions of the closing dates for the contracts.

n. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did falsely and
fraudulently represent that there were buyers interested in purchasing the real estate
that the conspirators claimed was under contract.

O. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did identify such
potential buyers by name and claim that they had expressed interest in purchasing the
real estate, when in truth and in fact, as the defendants then and there well knew, the
potential buyers did not exist, had never been contacted about purchasing the real
estate, or had declined to pursue a transaction.

p. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did fabricate some of
the names of potential buyers who the conspirators falsely claimed were interested in

purchasing the real estate that the conspirators claimed to have under contract.

6
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 7 of 18 PagelD 7

q. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators, as opposed to holding the
Victim’s refundable deposits in escrow as had been promised to the Victim, would and
did spend the proceeds received as a result of their fraud on themselves and for their
own personal benefit, including for luxury car rentals, travel, and adult entertainment.

r. It was a further part of the conspiracy that KEITH INGERSOLL
and JAMES P. ADAMCZYK would and did provide the Victim with documents that
falsely claimed that the Victim’s refundable deposits were being held in escrow or by
an escrow agent, when in truth and in fact, as the defendants then and there well knew,
the Victim’s refundable deposits were not being held in escrow or by an escrow agent
but had been transferred to accounts controlled by KEITH INGERSOLL and JAMES
P. ADAMCZYK and used to benefit themselves.

S. It was a further part of the conspiracy that, after the Victim
requested a return of some of his refundable deposits, KEITH INGERSOLL and
JAMES P. ADAMCZYK would and did provided false excuses why the funds could
not be returned, including false claims that JAMES P. ADAMCZYK was not allowed
to leave Costa Rica due to having COVID-19 and that JAMES P. ADAMCZYK
needed to be at the bank in person to return the funds to the Victim.

t. It was a further part of the conspiracy that KEITH INGERSOLL
would and did falsely and fraudulently represent that a company was willing to replace
the Victim as the one to make the refundable deposits and that he had been in contact

with “Ray Beckwith” and “Ray Beckworth” of that company who was interested in
7
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 8 of 18 PagelD 8

pursuing such a transaction, when in truth and in fact, as KEITH INGERSOLL then
and there well knew, the company did not have any representative by the name of
“Ray Beckwith” and “Ray Beckworth” and KEITH INGERSOLL had fabricated
those names and created an email account using the fictitious name of “Ray
Beckworth” to perpetrate the scheme by sending an email using that fictitious identity.

U. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did obtain over $12
million as a result of executing this conspiracy and scheme and artifice to defraud.

v. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did use interstate
wires in furtherance of the conspiracy and scheme and artifice to defraud, including
by causing interstate wires to be used to send and receive emails to and from each other
and the Victim, and by causing interstate wires to be used to send and receive proceeds.

w. It was a further part of the conspiracy that KEITH INGERSOLL,
JAMES P. ADAMCZYK, and other co-conspirators would and did perform acts and
make statements to hide and conceal, and cause to be hidden and concealed, the
purpose of the scheme to defraud and the acts committed in furtherance thereof.

All in violation of 18 U.S.C. § 1349.
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 9 of 18 PagelD 9

COUNTS TWO THROUGH TWENTY-ONE
(Wire Fraud)

A. Introduction

1. The allegations contained in paragraphs one through four of Count One

of this Indictment are hereby realleged and incorporated herein by reference.
B. Scheme and Artifice

2. Beginning at a time unknown to the Grand Jury, but beginning at least
by in or about April 2016, and continuing thereafter through and including on or about
the date of this Indictment, in the Middle District of Florida, and elsewhere, the
defendants,

KEITH INGERSOLL
JAMES P. ADAMCZYK,

did knowingly and with intent to defraud devise and intend to devise a scheme and
artifice to defraud, and for obtaining money and property by means of materially false
and fraudulent pretenses, representations, and promises.
C. Manner and Means of the Scheme

3. The manner and means utilized to accomplish the scheme and artifice to
defraud are set forth in paragraph six of Count One of this Indictment, which are
incorporated by reference herein.

D. Interstate Wires
4. On or about the dates set forth below, in the Middle District of Florida,

and elsewhere, the defendants,
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 10 of 18 PagelD 10

KEITH INGERSOLL
JAMES P. ADAMCZYK,

for the purpose of executing the aforesaid scheme and artifice to defraud and for
obtaining money and property by means of materially false and fraudulent pretenses,
representations and promises, did knowingly, and with intent to defraud, transmit and
cause to be transmitted by means of wire, radio, and television communication in

interstate commerce, the following writings, signs, signals, pictures, and sounds:

 

 

 

Count Date Interstate Wire
TWO October 11, | An email from KEITH INGERSOLL to the
2017 Victim, with a copy to the Suspended Attorney,

attaching a contract for a purported real estate
transaction in Nebraska

 

 

 

 

THREE March 23, | A wire transfer of $500,000 from Company B’s
2018 account at Bank of America to the Suspended.
Attorney’s account at Regions Bank
FOUR August 30,| A wire transfer of $1.5 million from Company
2018 A’s account at Bank of America to the
Suspended Attorney’s account at Regions
Bank
FIVE February 11, | A wire transfer of $1 million from Company
2019 A’s account at Bank of America to the
Suspended Attorney’s account at Regions
Bank
SIX June 5, 2019 | A wire transfer of $1 million from Company

C’s account at Bank of America to JAMES P.
ADAMCZYK’s account at Fifth Third Bank

 

 

SEVEN August 28, | A wire transfer of $1.25 million from Company

2019 D’s account at Bank of America to JAMES P.
ADAMCZYK’s account at Fifth Third Bank

EIGHT November | A wire transfer of $875,000 from Company A’s |

20, 2019 account at Bank of America to JAMES P.
ADAMCZYK’s account at Fifth Third Bank

 

 

 

 

 

NINE January 10,|An email from KEITH INGERSOLL to the
2020 Victim, forwarding a copy of an executed
global extension from JAMES PP.

ADAMCZYK

 

10
Case 6:21-cr-00138-ACC-EJK Document 1 Filed 11/10/21 Page 11 of 18 PagelD 11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count Date Interstate Wire
TEN February 3, | A wire transfer of $1.25 million from Company
2020 A’s account at Bank of America to JAMES P.
ADAMCZYK’s account at Fifth Third Bank
ELEVEN March 19,| An email from KEITH INGERSOLL to the
2020 Victim, with a copy to another email account
for KEITH INGERSOLL, forwarding an
email from JAMES P. ADAMCZYK
regarding a purported real estate transaction in
Broward County, Florida
TWELVE May 21, | A wire transfer of $925,000 from Company A’s
2020 account at Bank of America to JAMES P.
ADAMCZYK’s account at Fifth Third Bank
THIRTEEN | August 26, | A wire transfer of $250,000 from Company A’s
2020 account at Bank of America to JAMES P.
ADAMCZYK’s account at Fifth Third Bank
FOURTEEN | October 21,| An email from KEITH INGERSOLL to the
2020 Victim and another email account of KEITH
INGERSOLL, forwarding an email from
“Ray Beckwith”
FIFTEEN October 29, | A wire transfer of $1.5 million from Company
2020 A’s account at Bank of America to JAMES P.
ADAMCZYK’s account at Fifth Third Bank
SIXTEEN January 9,|An email from the Victim to JAMES P.
2021 ADAMCZYK, with a copy to KEITH
INGERSOLL, regarding receipt of the
executed global extension
SEVENTEEN | April 20, | An email from KEITH INGERSOLL to the
2021 Victim entitled, ‘Daytona analysis”
EIGHTEEN | April 21, | An email from KEITH INGERSOLL to the
2021 Victim, entitled, “Fwd: Property marke up,”
with attachment, with a copy to another email
account for KEITH INGERSOLL
NINETEEN | April 21,| An email from the Victim to JAMES P.
2021 ADAMCZYK, with a copy to KEITH
INGERSOLL and another person, with
attachment, regarding authorization of a
$800,000 wire transfer as a refundable deposit
on a purported real estate transaction in
Volusia County, Florida

 

1]

 
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 12 of 18 PagelD 12

 

 

 

Count Date Interstate Wire
TWENTY May 20, | An email from KEITH INGERSOLL to the
2021 Victim, with a copy to another email account

for KEITH INGERSOLL, attaching a
purchase extension for a purported real estate
transaction in Volusia County, Florida
TWENTY- July 2, 2021 | An email from KEITH INGERSOLL to “Ray
ONE Beckworth,” entitled, “RE: Conversation for
refi at 11:30,” with a copy to the Victim and
another email account of KEITH
INGERSOLL

 

 

 

 

 

 

All in violation of 18 U.S.C. § 1343.

COUNTS TWENTY-TWO THROUGH FORTY
(Illegal Monetary Transactions)

1. The Grand Jury hereby realleges paragraphs one through four of Count
One of this Indictment and incorporates such paragraphs by this reference as though
fully set forth herein.

2. On or about the dates set forth below, in the Middle District of Florida,
and elsewhere, the defendants,

KEITH INGERSOLL
JAMES P. ADAMCZYK,

did knowingly engage and attempt to engage in the monetary transactions described
below in and affecting interstate commerce, in criminally derived property of a value
greater than $10,000, which property was, in fact, derived from a specified unlawful
activity, that is, wire fraud in violation of 18 U.S.C. § 1343, knowing that such
transaction involved property and funds that were the proceeds obtained from a

criminal offense, as follows:

12
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 13 of 18 PagelD 13

 

Count

ate

‘Transaction

 

 

TWENTY-
TWO

October 11, 2017

$389,300 wire transfer by and through the
Suspended Attorney’s account at Bank of
America to an account belonging to KI
Consulting Group at Seacoast Bank

 

TWENTY-
THREE

November 30, 2017/$100,000 wire transfer by and through the

 

Suspended Attorney’s account at Bank of
America to an account belonging to Shooters
Orlando at Seacoast Bank

 

T'WENTY-
FOUR

January 16, 2018

$1,164,000 wire transfer by and through the
Suspended Attorney’s Bank of America
account to an account for Shooters Orlando at
Seacoast Bank

 

T'WENTY-

March 23, 2018

$440,000 wire transfer by and through the
Suspended Attorney’s Regions Bank account
to an account for Daystar Investments at
Seacoast Bank

 

TWENTY-
SIX

August 30, 2018

$550,000 wire transfer by and through
JAMES P. ADAMCZYK’s Fifth Third Bank
account to an account for KI Consulting
Group at Seacoast Bank

 

T'WENTY-
SEVEN

August 30, 2018

$800,000 wire transfer by and through the
Suspended Attorney’s account at Region’s
Bank to an account for Daystar Investments at
Seacoast Bank

 

TT WENTY-
EIGHT

August 30, 2018

$600,000 wire transfer by and through the
Suspended Attorney’s account at Regions
Bank to an account belonging to Shooters
Orlando at Fifth Third Bank

 

TWENTY-

August 30, 2018

$760,000 transfer by and through Daystar
Investments’ account at Seacoast Bank to an
account belonging to KI Consulting at
Seacoast Bank

 

THIRTY

 

February 12, 2019

 

$925,000 wire transfer by and through the
Suspended Attorney’s account at Regions
Bank to an account belonging to Daystar
Investments at Fifth Third Bank

 

 

 

13
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 14 of 18 PagelD 14

 

Count

Date

Transaction

 

THIRTY-
ONE

February 12, 2019

 

$350,000 cashier’s check made payable to
IKKEITH INGERSOLL for “Midwest Land}
Trust Ingersoll” that was obtained with funds
from Daystar Investments’ account at Fifth
Third Bank, which cashier’s check was
deposited into an account of KEITH
INGERSOLL at Wells Fargo Bank

 

THIRTY-
Two

February 14, 2019

$308,000 by and through Daystar
Investments’ account at Fifth Third Bank to
an account belonging to KEITH
INGERSOLL at Wells Fargo Bank

 

THIRTY-
THREE

June 5, 2019

$389,700 wire transfer by and through Fifth
Third account of Daystar Investments to an|
account belonging to Ingersoll Group at
Seacoast Bank

 

THIRTY-
FOUR

August 28, 2019

$750,000 transfer by and through the Fifth
Third Bank account for JAMES PP.
IADAMCZYK to an account belonging to the
Ingersoll Group at Wells Fargo

 

THIRTY-

INovember 21, 2019

$150,000 wire transfer by and through the
Fifth Third Bank account for JAMES P.
AADAMCZYK to an account belonging to
Ingersoll Group at Seacoast Bank

 

THIRTY-
SIX

February 3, 2020

$325,000 cashier’s check made payable to the
Ingersoll Group for “Ingersoll Land Trust
1463 Orlando” that was obtained with funds
from the Fifth Third Bank account of JAMES
P. ADAMCZYK, which cashier’s check was
deposited into an account of Ingersoll Group
at Wells Fargo Bank

 

THIRTY-
SEVEN

May 21, 2020

$420,000 wire transfer by and through the
Fifth Third Bank account of JAMES P.
ADAMCZYK to an account belonging to the
Ingersoll Group at Wells Fargo Bank

 

THIRTY-
FIGHT

 

August 27, 2020

 

$150,000 wire transfer by and through the
Fifth Third Bank account for JAMES P.
AADAMCZYK to an account belonging to the
Ingersoll Group at Wells Fargo Bank

 

 

 

14
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 15 of 18 PagelID 15

 

 

 

Count [Date Transaction
THIRTY- {October 30,2020 ($352,000 wire transfer by and through Fifth
ININE Third Bank account for JAMES PP.

AADAMCZYK to an account belonging to the
Ingersoll Group at Wells Fargo Bank

FORTY November 1, 2020 [$400,000 check made payable to the Ingersoll
Group, LLC for “Land Trust 1204” that was
obtained with funds from the Fifth Third Bank
lof IDrive Media, which check was deposited)

to an account of the Ingersoll Group at
Wells Fargo Bank

 

 

 

 

 

 

In violation of 18 U.S.C. §§ 1957 and 2.

COUNT FORTY-ONE
(Aggravated Identity Theft)

A. Introduction

1. The Grand Jury hereby realleges paragraphs one through four of Count
One of this Indictment and incorporates such paragraphs by this reference as though
fully set forth herein.

2. On or about August 1, 2017, in the Middle District of Florida, and
elsewhere, the defendant,

KEITH INGERSOLL,

did knowingly transfer, possess, and use, without lawful authority, a means of
identification of another person, specifically, the name and signature of W.V., during
and in relation to a felony violation of conspiracy to commit wire fraud, in violation
of 18 U.S.C. § 1349, as charged in Count One of the Indictment, knowing that such
means of identification belonged to an actual person.

In violation of 18 U.S.C. §§ 1028A(a)(1) and 2.

15
Case 6:21-cr-00138-ACC-EJK Document1 Filed 11/10/21 Page 16 of 18 PagelID 16

FORFEITURE

1. The allegations contained in Counts One through Forty are incorporated
by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C. §§
981(a)(1)(C), 982, and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 18 U.S.C. § 1343, the defendant shall
forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
2461(c), any property, real or personal, which constitutes or is derived from proceeds
traceable to the violation.

3. Upon conviction of a violation of 18 U.S.C. § 1957, the defendant shall
forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any property, real or

personal, involved in such offense, or any property traceable to such property.

4, If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

Cc. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided
without difficulty;

16
 

Case 6:21-cr-00138-ACC-EJK Document 1 Filed 11/10/21 Page 17 of 18 PagelD 17

the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28

A TRUE “a2

Foreperson Db i te Sf

U.S.C. § 2461(c).

KARIN HOPPMANN
Acting United States Attorney

J ennifer | Haryefgton a /
Assistant United St omey

 

By:
Amanda Daniels
Assistant United States Attorney

By: 12 (sna wy

Roger B. Handberg
Assistant United States Attorney
Chief, Orlando Division

By: Oesephune ) Ora

J dsephine W. Thomas
Assistant United States Attorney
Chief, Criminal Division

17
FORM OBD-34 Case 6:21-cr-00138-ACC-EJK Document 1 Filed 11/10/21 Page 18 of 18 PagelD 18
APR 1991 No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division

THE UNITED STATES OF AMERICA
vs.

KEITH INGERSOLL
JAMES P. ADAMCZYK

 

INDICTMENT
Violations:

18 U.S.C. § 1349
18 U.S.C. § 1343
18 U.S.C. § 1957
18 U.S.C. § 1028A

\

A true bill, |
é el 2.

Foreperson De fv Ly

 

 

Filed in open court this 10th day of November, 2021.

Clerk Nee

 

 

Bail $

 

 

GPO 863 525
